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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA

 Sadiq Malik                                          Case No: 23-18438-LMI
                                                      Chapter 13
                  Debtor              /

                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the Debtor’s Motion to Determine

Joint Creditors and Notice of Hearing was sent to all parties on the attached service list on

December 27, 2023.

Electronically: Nancy K. Neidich, Trustee

First Class Mail:

Debtor(s), Sadiq Malik
15720 Bull Run RD, APT 175,
Miami Lakes, FL 33014-8138

And to all creditors on the matrix.

 Respectfully submitted:                    Jose A. Blanco, P.A.
 December 27, 2023                          By: /s/ Jose A. Blanco | FBN: 062449
                                            Attorney for Debtor(s)
                                            102 E 49th ST
                                            Hialeah, FL 33013,
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